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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA : No. 4:23-CR-162

V. : (Judge Brann)
MATTHEW LAMPI, : (electronically filed)
Defendant

PLEA AGREEMENT

The following Plea Agreement is entered by the United States
Attorney for the Middle District of Pennsylvania and the above-
captioned defendant. Any reference to the United States or to the
Government in this Agreement shall mean the Office of the United

States Attorney for the Middle District of Pennsylvania.

A. Violation(s), Penalties, and Dismissal of Other Counts

1. Guilty plea. The defendant agrees to plead guilty to Count 2 of

the Indictment, which charges the defendant with a violation of

Title 18, United States Code, §§ 2314, Interstate Transport of
Stolen Goods. The maximum penalty for that offense is

imprisonment for a period of 10 years, a fine of $250,000, a

maximum term of supervised release of 3 years, which shall be

served at the conclusion of, and in addition to, any term of
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imprisonment, as well as the costs of prosecution,
imprisonment, probation, or supervised release ordered, denial
of certain federal benefits, and an assessment in the amount of
$100. At the time the guilty plea is entered, the defendant shall
admit to the Court that the defendant is, in fact, guilty of the
offense(s) charged in that count. After sentencing, the United
States will move for dismissal of any remaining counts of the
Indictment. The defendant agrees, however, that the United
States may, at its sole election, reinstate any dismissed charges,
or seek additional charges, in the event that any guilty plea
entered or sentence imposed pursuant to this Agreement is
subsequently vacated, set aside, or invalidated by any court.
The defendant further agrees to waive any defenses to
reinstatement of any charges, or to the filing of additional
charges, based upon laches, the assertion of speedy trial rights,
any applicable statute of limitations, or any other ground. The
calculation of time under the Speedy Trial Act for when trial

must commence is tolled as of the date of the defendant’s

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signing of this Agreement, until either (a) the defendant pleads
guilty; or (b) a new date is set by the Court for commencement
of trial.

Term of Supervised Release. The defendant understands that

the Court may impose a term of supervised release following
any sentence of imprisonment exceeding one year, or when
required by statute. The Court may require a term of
supervised release in any other case. In addition, the defendant
understands that as a condition of any term of supervised
release or probation, the Court must order that the defendant
cooperate in the collection of a DNA sample if the collection of a
sample is so authorized by law.

No Further Prosecution, Except Tax Charges. The United

States Attorney’s Office for the Middle District of Pennsylvania
agrees that it will not bring any other criminal charges against
the defendant directly arising out of the defendant’s

involvement in the offense(s) described above. However,

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nothing in this Agreement will limit prosecution for criminal tax
charges, if any, arising out of those offenses.

B. Fines and Assessments

4. Fine. The defendant understands that the Court may impose a
fine pursuant to the Sentencing Reform Act of 1984. The willful
failure to pay any fine imposed by the Court, in full, may be
considered a breach of this Plea Agreement. Further, the
defendant acknowledges that willful failure to pay the fine may
subject the defendant to additional criminal violations and civil
penalties pursuant to Title 18, United States Code, § 3611, et
seq.

5. Alternative Fine. The defendant understands that under the

alternative fine section of Title 18, United States Code, § 3571,
the maximum fine quoted above may be increased if the Court
finds that any person derived pecuniary gain or suffered
pecuniary loss from the offense and that the maximum fine to

be imposed, if the Court elects to proceed in this fashion, could

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be twice the amount of the gross gain or twice the amount of the
gross loss resulting from the offense.

Inmate Financial Responsibility Program. If the Court orders a

fine or restitution as part of the defendant’s sentence, and the
sentence includes a term of imprisonment, the defendant agrees
to voluntarily enter the United States Bureau of Prisons-
administered program known as the Inmate Financial
Responsibility Program, through which the Bureau of Prisons
will collect up to 50% of the defendant’s prison salary, and up to
50% of the balance of the defendant’s inmate account, and apply
that amount on the defendant’s behalf to the payment of the
outstanding fine and restitution orders.

Special Assessment. The defendant understands that the Court

will impose a special assessment of $100, pursuant to the
provisions of Title 18, United States Code, § 3013. No later
than the date of sentencing, the defendant or defendant’s
counsel shall mail a check in payment of the special assessment

directly to the Clerk, United States District Court, Middle
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District of Pennsylvania. If the defendant intentionally fails to
make this payment, that failure may be treated as a breach of
this Plea Agreement and may result in further prosecution, the
filing of additional criminal charges, or a contempt citation.

Collection of Financial Obligations. In order to facilitate the

collection of financial obligations imposed in connection with

this case, the defendant consents and agrees:

a. to fully disclose all assets in which the defendant has an
interest or over which the defendant has control, directly or
indirectly, including those held by a spouse, nominee, or
other third party;

b. to submit to interviews by the Government regarding the
defendant’s financial status;

c. to submit a complete, accurate, and truthful financial
statement, on the form provided by the Government, to the
United States Attorney’s Office no later than 14 days

following entry of the guilty plea:

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d. whether represented by counsel or not, to consent to contact

by and communication with the Government, and to waive
any prohibition against communication with a represented

party by the Government regarding the defendant’s

. financial status;

to authorize the Government to obtain the defendant’s
credit reports in order to evaluate the defendant’s ability to
satisfy any financial obligations imposed by the Court; and
to submit any financial information requested by the
Probation Office as directed, and to the sharing of financial

information between the Government and the Probation

Office.

C. Sentencing Guidelines Calculation

9.

Determination of Sentencing Guidelines. The defendant and

counsel for both parties agree that the United States Sentencing
Commission Guidelines, which took effect on November 1, 1987,
and its amendments (the “Sentencing Guidelines”), will apply to

the offense or offenses to which the defendant is pleading guilty.

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The defendant understands that the Sentencing Guidelines are
advisory and not binding on the Court. The defendant further
agrees that any legal and factual issues relating to the
application of the Sentencing Guidelines to the defendant’s
conduct, including facts to support any specific offense
characteristic or other enhancement or adjustment and the
appropriate sentence within the statutory maximums provided
for by law, will be determined by the Court after briefing, a pre-
sentence hearing, or a sentencing hearing.

10. Acceptance of Responsibility— Two/Three Levels. If the

defendant can adequately demonstrate recognition and
affirmative acceptance of responsibility to the Government as
required by the Sentencing Guidelines, the Government will
recommend that the defendant receive a two- or three-level
reduction in the defendant’s offense level for acceptance of
responsibility. The third level, if applicable, shall be within the

discretion of the Government under U.S.S.G. § 3E1.1. The

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11.

failure of the Court to find that the defendant is entitled to a
reduction shall not be a basis to void this Agreement.

Specific Sentencing Guidelines Recommendations. With respect

to the application of the Sentencing Guidelines to the
defendant’s conduct, the parties agree to recommend as follows:
With respect to USSG § 2B1.1(b)(1), the offense involved a loss
of more than $6,500 but less than $15,000. Each party reserves
the right to make whatever remaining arguments it deems
appropriate with regard to application of the United States
Sentencing Commission Guidelines to the defendant’s conduct.
The defendant understands that any recommendations are not
binding upon either the Court or the United States Probation
Office, which may make different findings as to the application
of the Sentencing Guidelines to the defendant’s conduct. The
defendant further understands that the United States will
provide the Court and the United States Probation Office all

information in its possession that it deems relevant to the

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application of the Sentencing Guidelines to the defendant’s

conduct.

D. Sentencing Recommendation

12. Appropriate Sentence Recommendation. At the time of

13.

sentencing, the United States may make a recommendation
that it considers appropriate based upon the nature and
circumstances of the case and the defendant’s participation in
the offense, and specifically reserves the right to recommend a
sentence up to and including the maximum sentence of
imprisonment and fine allowable, together with the cost of
prosecution.

Special Conditions of Probation/Supervised Release. If

probation or a term of supervised release is ordered, the United
States may recommend that the Court impose one or more
special conditions, including but not limited to the following:

a. The defendant be prohibited from possessing a firearm or

other dangerous weapon.

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b. The defendant make restitution, if applicable, the payment
of which shall be in accordance with a schedule to be
determined by the Court.

c. The defendant pay any fine imposed in accordance with a
schedule to be determined by the Court.

d. The defendant be prohibited from incurring new credit
charges or opening additional lines of credit without
approval of the Probation Office unless the defendant is in
compliance with the payment schedule.

e. The defendant be directed to provide the Probation Office
and the United States Attorney access to any requested
financial information.

f. The defendant be confined in a community treatment
center, halfway house, or similar facility.

g. The defendant be placed under home confinement.

h. The defendant be ordered to perform community service.

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i. The defendant be restricted from working in certain types of
occupations or with certain individuals if the Government
deems such restrictions to be appropriate.

j. The defendant be directed to attend substance abuse
counseling, which may include testing to determine whether
the defendant is using drugs or alcohol.

k. The defendant be directed to attend psychiatric or
psychological counseling and treatment in a program
approved by the Probation Officer.

1. The defendant be denied certain federal benefits including
contracts, grants, loans, fellowships, and licenses.

m. The defendant be directed to pay any state or federal taxes
and file any and all state and federal tax returns as
required by law.

E. Victims’ Rights and Restitution

14. Victims’ Rights. The defendant understands that pursuant to

the Victim and Witness Protection Act, the Crime Victims’

Rights Act, the Justice for All Act, and the regulations
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promulgated under those Acts by the Attorney General of the

United States, crime victims have the following rights:

a. The right to be reasonably protected from the accused;

b. The right to reasonable, accurate, and timely notice of any
public court proceeding or any parole proceeding involving
the crime, or of any release or escape of the accused;

c. The right not to be excluded from any such public court
proceeding, unless the Court, after receiving clear and
convincing evidence, determines that testimony by the
victim would be altered materially if the victim heard other
testimony at that proceeding;

d. The right to be reasonably heard at any public hearing in
the Court involving release, plea, sentencing, or any parole
proceeding. The defendant understands that the victims’
comments and recommendations at any of these proceedings
may be different than those of the parties to this

Agreement;

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e. The reasonable right to confer with the attorney for the
Government in the case. The defendant understands that
the victims’ opinions and recommendations given to the
attorney for the Government may be different than those
presented by the United States as a consequence of this
Agreement;

f. The right to full and timely restitution as provided for by
law. The attorney for the Government is required to “fully
advocate the rights of victims on the issue of restitution
unless such advocacy would unduly prolong or complicate
the sentencing proceeding,” and the Court is authorized to
order restitution by the defendant including, but not limited
to, restitution for property loss, economic loss, personal
injury, or death;

g. The right to proceedings free from unreasonable delay; and

h. The right to be treated with fairness and with respect for

the victim’s dignity and privacy.

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15. Restitution. The defendant acknowledges that, pursuant to the
Mandatory Restitution Act of April 24, 1996, Title 18, United
States Code, § 3663A, the Court is required in all instances to
order full restitution to all victims for the losses those victims
have suffered as a result of the defendant’s conduct. The
defendant also agrees that the Government will seek, and the
Court may impose an order of restitution as to victims of the
defendant’s relevant conduct. With respect to the payment of
restitution, the defendant further agrees that, as part of the
sentence in this matter, the defendant shall be responsible for
making payment of restitution in full, unless the defendant can
demonstrate to the satisfaction of the Court that the defendant’s
economic circumstances do not allow for the payment of full
restitution in the foreseeable future, in which case the
defendant will be required to make partial restitution
payments. In addition to the schedule of payments that may be
established by the Court, the defendant understands and agrees

that, pursuant to the Mandatory Victims Restitution Act of
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1996 and the Justice For All Act of 2004, victims of federal
crimes are entitled to full and timely restitution. As such, these
payments do not preclude the Government from using other
assets or income of the defendant to satisfy the restitution
obligation. The defendant understands and agrees that the
United States Attorney’s Office, by and through the Financial
Litigation Unit, has the obligation and the right to pursue any
legal means, including but not limited to, submission of the debt
to the Treasury Offset Program, to collect the full amount of
restitution owed to the victims in a timely fashion. Although
the defendant may reserve the right to contest the amount of
restitution owed, the defendant agrees to take all steps to
facilitate collection of all restitution, including submitting to
debtor’s exams as directed by the Government. Towards this
goal, the defendant agrees to waive any further notice of
forfeiture and agrees that the United States may, at its sole
election, elect to pursue civil or criminal forfeiture in the

amount of the victim restitution owed in this case, and the

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Court may enter both a restitution order and a forfeiture
judgment in the amount of any unpaid restitution found by the
Court to be due and owing at the time of sentencing in this
matter. The defendant consents to the filing of any civil
complaint or superseding information which may be necessary
to perfect a forfeiture order and further stipulates and agrees
that the defendant’s guilty plea constitutes an admission to all
matters legally and factually necessary for entry of a forfeiture
order in this case. The parties agree that the Government will
recommend, but cannot guarantee, that any assets recovered
through forfeiture proceedings be remitted to crime victims to
reduce the defendant’s restitution obligation in this case. The
defendant acknowledges that the making of any payments does
not preclude the Government from using other assets or income
of the defendant to satisfy the restitution obligation. The
defendant understands that the amount of restitution

calculated for purposes of Chapter 5 of the Sentencing

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16.

Guidelines might be different from the amount of loss calculated
for purposes of Chapter 2 of the Sentencing Guidelines.

Full Restitution by Schedule. The defendant agrees to make

full restitution in accordance with a schedule to be determined

by the Court.

F. Information Provided to Court and Probation Office

17.

18.

Background Information for Probation Office. The defendant

understands that the United States will provide to the United
States Probation Office all information in its possession that the
United States deems relevant regarding the defendant’s
background, character, cooperation, if any, and involvement in
this or other offenses.

Objections to Pre-Sentence Report. The defendant understands

that pursuant to the United States District Court for the Middle
District of Pennsylvania’s “Policy for Guideline Sentencing,”
both the United States and defendant must communicate to the
Probation Officer within 14 days after disclosure of the pre-

sentence report any objections they may have as to material

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information, sentencing classifications, applicable Sentencing
Guidelines ranges, and policy statements contained in or
omitted from the report. The defendant agrees to meet with the
United States at least five days prior to sentencing in a good
faith attempt to resolve any substantive differences. If any
issues remain unresolved, they shall be communicated to the
Probation Officer for inclusion in an addendum to the pre-
sentence report. The defendant agrees that unresolved
substantive objections will be decided by the Court after
briefing, a pre-sentence hearing, or at the sentencing hearing,
where the standard or proof will be a preponderance of the
evidence, and the Federal Rules of Evidence, other than with
respect to privileges, shall not apply under Fed. R. Evid.
1101(d)(3), and the Court may consider any reliable evidence,
including hearsay. Objections by the defendant to the pre-
sentence report or the Court’s rulings, will not be grounds for

withdrawal of a plea of guilty.

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19. Relevant Sentencing Information. At sentencing, the United

States will be permitted to bring to the Court’s attention, and
the Court will be permitted to consider, all relevant information
about the defendant’s background, character and conduct,
including the conduct that is the subject of the charges that the
United States has agreed to dismiss, and the nature and extent
of the defendant’s cooperation, if any. The United States will be
entitled to bring to the Court’s attention and the Court will be
entitled to consider any failure by the defendant to fulfill any
obligation under this Agreement.

20. Non-Limitation on Government’s Response. Nothing in this

Agreement shall restrict or limit the nature or content of the
United States’ motions or responses to any motions filed on
behalf of the defendant. Nor does this Agreement in any way
restrict the Government in responding to any request by the
Court for briefing, argument or presentation of evidence

regarding the application of Sentencing Guidelines to the

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defendant’s conduct, including but not limited to, requests for

information concerning possible sentencing departures.

G. Court Not Bound by Plea Agreement

21.

22.

Court Not Bound by Terms. The defendant understands that

the Court is not a party to and is not bound by this Agreement,
or by any recommendations made by the parties. Thus, the
Court is free to impose upon the defendant any sentence up to
and including the maximum sentence of imprisonment for 10
years, a fine of $100, a maximum term of supervised release of
up to 3 years, which shall be served at the conclusion of and in
addition to any term of imprisonment, the costs of prosecution,
denial of certain federal benefits, and assessments totaling
$100.

No Withdrawal of Plea Based on Sentence or Recommendations.

If the Court imposes a sentence with which the defendant is
dissatisfied, the defendant will not be permitted to withdraw
any guilty plea for that reason alone, nor will the defendant be

permitted to withdraw any guilty plea should the Court decline
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to follow any recommendations by any of the parties to this
Agreement.

H. Breach of Plea Agreement by Defendant

23. Breach of Agreement. In the event the United States believes

the defendant has failed to fulfill any obligation under this
Agreement, then the United States shall, in its discretion, have
the option of petitioning the Court to be relieved of its
obligations under this Agreement. Whether the defendant has
completely fulfilled all of the obligations under this Agreement
shall be determined by the Court in an appropriate proceeding,
during which any disclosures and documents provided by the
defendant shall be admissible, and during which the United
States shall be required to establish any breach by a
preponderance of the evidence. In order to establish any breach
by the defendant, the United States is entitled to rely on
statements and evidence given by the defendant during the

cooperation phase of this Agreement, if any.

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24. Remedies for Breach. The defendant and the United States

agree that in the event the Court concludes that the defendant

has breached the Agreement:

a.

The defendant will not be permitted to withdraw any guilty
plea tendered under this Agreement and agrees not to
petition for withdrawal of any guilty plea:

The United States will be free to make any
recommendations to the Court regarding sentencing in this
case;

Any evidence or statements made by the defendant during
the cooperation phase of this Agreement, if any, will be
admissible at any trials or sentencings;

The United States will be free to bring any other charges it
has against the defendant, including any charges originally
brought against the defendant or which may have been
under investigation at the time of the plea. The defendant
waives and hereby agrees not to raise any defense to the

reinstatement of these charges based upon collateral

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estoppel, Double Jeopardy, statute of limitations, assertion
of Speedy Trial rights, or other similar grounds.

25. Violation of Law While Plea or Sentence Pending. The

defendant understands that it is a condition of this Agreement
that the defendant refrain from any further violations of state,
local, or federal law while awaiting plea and sentencing. The
defendant acknowledges and agrees that if the Government
receives information that the defendant has committed new
crimes while awaiting plea or sentencing in this case, the
Government may petition the Court and, if the Court finds by a
preponderance of the evidence that the defendant has
committed any other criminal offense while awaiting plea or
sentencing, the Government shall be free at its sole election to
either: (a) withdraw from this Agreement; or (b) make any
sentencing recommendations to the Court that it deems
appropriate. The defendant further understands and agrees
that, if the Court finds that the defendant has committed any

other offense while awaiting plea or sentencing, the defendant

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will not be permitted to withdraw any guilty pleas tendered
pursuant to this Agreement, and the government will be
permitted to bring any additional charges that it may have

against the defendant.

I. Transfer of Information to IRS

26.

27.

28.

Transfer of Case to IRS. The defendant agrees to interpose no

objection to the United States transferring evidence or
providing information concerning the defendant or this offense,
to other state and federal agencies or other organizations,
including, but not limited to the IRS, law enforcement agencies
and licensing and regulatory agencies.

Collection Action by IRS. Nothing in this Agreement shall limit

the IRS in its collection of any taxes, interest, or penalties due
from the defendant arising out of or related in any way to the
offense(s) identified in this Agreement.

Rule 6(e) Order for Transfer of Information to IRS. The

defendant agrees to interpose no objections to the entry of an

order under Fed. R. Crim. P. 6(e) authorizing transfer to the
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29.

Examination Division of the IRS of the defendant’s documents,
or documents of third persons, in possession of the Grand Jury,
the United States Attorney, or the Criminal Investigation
Division of the IRS.

Cooperation with IRS. The defendant agrees to fully comply

and cooperate with the IRS by filing all delinquent or amended
tax returns by the date of the defendant’s sentencing, and to
timely file all future returns, which may come due during the
term of incarceration, probation or supervised release. The
defendant also agrees to cooperate with the IRS by furnishing
the IRS with all information pertaining to the defendant’s
assets and liabilities, as well as all documentation in support of
tax returns filed by the defendant during the term of any
sentence imposed pursuant to this guilty plea. The defendant
further agrees to pay all taxes, interests, and penalties due and
owing to the United States and otherwise fully comply with the
tax laws of the United States. The defendant understands, and

agrees, that this requirement of full compliance with federal tax

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laws may be made a condition of any probation or supervised
release imposed in this case.

J. Deportation

30. Deportation/Removal from the United States. The defendant

understands that, if defendant is not a United States citizen,
deportation/removal from the United States is a consequence of
this plea. The defendant further agrees that this matter has
been discussed with counsel who has explained the immigration
consequences of this plea. The defendant still desires to enter
into this plea after having been so advised.

K. Appeal Waiver

31. Appeal Waiver — Direct. The defendant is aware that Title 28,

United States Code, § 1291 affords a defendant the right to
appeal a judgment of conviction and sentence; and that Title 18,
United States Code, § 3742(a) affords a defendant the right to
appeal the sentence imposed. Acknowledging all of this, the
defendant knowingly waives the right to appeal the conviction

and sentence. This waiver includes any and all possible

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grounds for appeal, whether constitutional or non-
constitutional, including, but not limited to, the manner in
which that sentence was determined in light of United States v.
Booker, 543 U.S. 220 (2005). The defendant further
acknowledges that this appeal waiver is binding only upon the
defendant and that the United States retains its right to appeal

in this case.

L. Other Provisions

o2.

30.

Agreement Not Binding on Other Agencies. Nothing in this

Agreement shall bind any other United States Attorney’s Office,
state prosecutor's office, or federal, state, or local law
enforcement agency.

No Civil Claims or Suits. The defendant agrees not to pursue or

initiate any civil claims or suits against the United States of
America, its agencies or employees, whether or not presently
known to the defendant, arising out of the investigation,
prosecution or cooperation, if any, covered by this Agreement,

including but not limited to any claims for attorney’s fees and

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34,

35.

other litigation expenses arising out of the investigation and
prosecution of this matter. By the defendant’s guilty plea in
this matter the defendant further acknowledges that the
Government’s position in this litigation was taken in good faith,
had a substantial basis in law and fact and was not vexatious.

Plea Agreement Serves Ends of Justice. The United States is

entering this Agreement with the defendant because this
disposition of the matter fairly and adequately addresses the
gravity of the offense(s) from which the charge(s) is/are drawn,
as well as the defendant’s role in such offense(s), thereby
serving the ends of justice.

Merger of All Prior Negotiations. This document states the

complete and only Agreement between the United States
Attorney for the Middle District of Pennsylvania and the
defendant in this case, and is binding only on the parties to this
Agreement and supersedes all prior understandings or plea
offers, whether written or oral. This agreement cannot be

modified other than in writing that is signed by all parties or on

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36.

the record in court. No other promises or inducements have
been or will be made to the defendant in connection with this
case, nor have any predictions or threats been made in
connection with this plea. Pursuant to Rule 11 of the Federal
Rules of Criminal Procedure, the defendant certifies that the
defendant’s plea is knowing and voluntary and is not the result
of force or threats or promises apart from those promises set
forth in this Agreement.

Defendant is Satisfied with Assistance of Counsel. The

Defendant agrees that the defendant has discussed this case
and this Agreement in detail with the defendant’s attorney, who
has advised the defendant of the defendant’s Constitutional and
other trial and appellate rights, the nature of the charges, the
elements of the offenses the United States would have to prove
at trial, the evidence the United States would present at such
trial, possible defenses, the advisory Sentencing Guidelines and
other aspects of sentencing, potential losses of civil rights and

privileges, and other potential consequences of pleading guilty

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37.

38.

in this case. The defendant agrees that the defendant is
satisfied with the legal services and advice provided to the
defendant by the defendant’s attorney.

Deadline for Acceptance of Plea Agreement. The original of this

Agreement must be signed by the defendant and defense
counsel and received by the United States Attorney's Office on
or before 5:00 p.m., February 10, 2024, otherwise the offer may,
in the sole discretion of the Government, be deemed withdrawn.

Required Signatures. None of the terms of this Agreement shall

be binding on the Office of the United States Attorney for the
Middle District of Pennsylvania until signed by the defendant
and defense counsel and then signed by the United States

Attorney or his designee.

dl

Date MATTHEW LAMPL

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ACKNOWLEDGMENTS

lL have read this agreement and carefully reviewed every part of if
with my attorney. | fully understand it and I volyntarily eerree LO th.

| |

Defendant

1 am the defendant’s counsel. | have carefully reviewed every part
of this agreement with the defendant. To my knowledge, my ¢ chient’s
decision to enter into this agreement I is. an informed and voluntary one.

2 jan 2 vw | AL
Date © & JOSEPH R. *yANDRE vA

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